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                                                              9   HOUSING PROVIDERS OF AMERICA
ZACKS, FREEDMAN & PATTERSON, PC




                                                             10
                                                                                          IN THE UNITED STATES DISTRICT COURT
                          601 MONTGOMERY STREET, SUITE 400
                           SAN FRANCISCO, CALIFORNIA 94111




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                                                                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                JOHN WILLIAMS, ROBERT VOGEL,                          Case No.: 3:22-cv-01274
                                                             14
                                                                SHEANNA ROGERS,
                                                             15 MICHAEL LOEB, JAQUELINE WATSON-
                                                                                                                      DECLARATION OF JOHN WILLIAMS IN
                                                                BAKER, and HOUSING PROVIDERS OF
                                                             16                                                       SUPPORT OF PLAINTIFFS’ AND
                                                                AMERICA, a 501(c)(4) non-profit Corporation,          PETITIONERS’ MOTION FOR
                                                             17                                                       BIFURCATION OF FACIAL AND AS-
                                                                            Plaintiffs and Petitioners,               APPLIED CLAIMS
                                                             18
                                                             19         vs.

                                                             20   ALAMEDA COUNTY, ALAMEDA
                                                                  COUNTY BOARD OF SUPERVISORS,
                                                             21   CITY OF OAKLAND, OAKLAND CITY
                                                                  COUNCIL and DOES 1-10,
                                                             22
                                                             23                 Defendants and Respondents.

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                                                                  I, John Williams, declare as follows:
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                                                                     1. I am an individual over the age of 18, and a plaintiff in the above-captioned action. I have
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                                                                    DECLARATION OF JOHN WILLIAMS IN SUPPORT OF PLAINTIFFS’ AND PETITIONERS’ MOTION FOR
                                                                                BIFURCATION OF FACIAL AND AS-APPLIED CLAIMS (3:22-cv-01274)
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                                                              1   personal knowledge of the following facts, and I would testify truthfully thereto if called to do so.
                                                              2      2. I own a duplex located at 1109 32nd Street, Oakland, California.
                                                              3      3. The rent for the property only barely covers my property expenses for 1109 32nd Street.
                                                              4      4. The current renter in the three-bedroom one-bath downstairs unit, Martina Martin, has
                                                              5   occupied the unit for approximately ten years, and until the past two years, has always paid the rent
                                                              6   for the unit, which is approximately $1,500.00 per month.
                                                              7      5. After Oakland and Alameda County enacted the Moratoriums in 2020, the renter stopped
                                                              8   paying rent and has not paid since.
                                                              9      6. The renter’s failure to pay is not related to any Covid-19 related reason, the renter operated a
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                                                             10   moving and storage business, “Martina’s Ride” out of her unit since 2017, and through much of 2021.
                          601 MONTGOMERY STREET, SUITE 400
                           SAN FRANCISCO, CALIFORNIA 94111




                                                             11      7. The renter refuses to cooperate with my efforts to recoup unpaid rents through the rent relief
                                                             12   program, and therefore the City of Oakland rejected my application for noncompliance.
                                                             13      8. The renter in the upper unit of my duplex vacated in March of 2021, I have kept this unit
                                                             14   vacant out of fear that a new renter will move in and refuse to pay rent.
                                                             15      9. I am worried that I will lose the property. I applied for and received three months of mortgage
                                                             16   forbearance, but that forbearance expired, and furthermore only delays my obligation to pay the
                                                             17   mortgage.
                                                             18      10. In order to alleviate my financial problems, I attempted to sell the property, but my non-paying
                                                             19   renter has made the property virtually unsalable to any reasonable value.
                                                             20      11. In October of 2021, I was so riddled with stress caused by my non-paying renter and the
                                                             21   possibility of losing 1109 32nd Street to foreclosure, I was hospitalized and remain disabled as a result.
                                                             22      12. This disability has devastated me financially; my condition forced me to quit my job and
                                                             23   move into the upper unit of 1109 32nd Street – directly above my non-paying renter—to save money.
                                                             24      13. I believe the above-described distress and financial impacts are a direct result of the City of
                                                             25   Oakland and County of Alameda Moratoriums.
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                                                                    DECLARATION OF JOHN WILLIAMS IN SUPPORT OF PLAINTIFFS’ AND PETITIONERS’ MOTION FOR
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